                IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MISSOURI
                          WESTERN DIVISION
UNITED STATES OF AMERICA,         )
                    Plaintiff,    )
                                  )
v.                                )             No. 07-00007-02/03-CR-W-FJG
                                  )
PHILIP F. CARDARELLA and          )
KATHERYN J. SHIELDS,              )
                      Defendants. )

                                          ORDER
      Currently pending before the Court are (1) Motion in Limine of Defendants Shields

and Cardarella to Prohibit Argument Regarding Deed to 5034 Sunset Drive (Doc. No. 144);

and (2) Motion in Limine of Defendants Shields and Cardarella to Prohibit Argument that

They Made Any False Statement (Doc. No. 146). Both will be considered below.

I.    Motion in Limine of Defendants Shields and Cardarella to Prohibit Argument
      Regarding Deed to 5034 Sunset Drive (Doc. No. 144)

      The defendants do not want the government to be allowed to put on evidence
regarding the signing of the deed, as any theory regarding the deed was not pled in the
indictment. Defendants note that Judge Sachs questioned whether this unpled theory could
be used at trial, stating that defendants could contend that Russell v. United States, 369
U.S. 749 (1962) bars the use of an unpled deed signing event as part of an aiding and
abetting theory. See Doc. No. 91, p. 5.
      The government responds (in Doc. No. 157) that (1) this motion in limine was filed
out of time; and (2) the signing of the deed is not an unpled overt act, as the wire
transmission identified in Count 12 includes “all signed closing documents” sent from
Freedom Title to Fieldstone Mortgage, and that government states that its trial proof will
establish that the deed signed by Shields and Cardarella was among the “signed closing
documents”–thus, it is not an unpled theory.



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       After reviewing the motion in limine, response, and reply suggestions, the Court finds
persuasive the government’s point that the signing of the deed is not unpled in the
indictment, as Count 12 identifies “all signed closing documents” as part of the wire
transmission at issue. Therefore, defendants’ motion in limine (Doc. No. 144) will be
DENIED.
II.    Motion in Limine of Defendants Shields and Cardarella to Prohibit Argument
       that They Made Any False Statement (Doc. No. 146)

       Defendants Shields and Cardarella argue in this motion that, as Judge Sachs has
already held (in Doc. Nos. 91 and 115) that the Settlement Statement and Assignment of
Proceeds were not false or fraudulent but were instead candid and true, the government
ought not be allowed to present evidence or argument that the statements were fraudulent.
       The government responds (Doc. No. 157) that (1) Judge Sachs’ prior ruling is not
dispositive or controlling as there is no res judicata or collateral estoppel effect associated
with such rulings; (2) the question of whether the settlement statement was “painfully
candid” instead of “dishonest or false” is a question of fact reserved for determination at
trial by the fact-finder; and (3) taking up this issue before trial would be committing the
same type of error Judge Wright made in United States v. Ferro, 252 F.3d 964 (8th Cir.
2001), where the 8th Circuit found materiality was an issue for the jury.
       After reviewing the motion in limine, response, and reply suggestions, the Court finds
that the issue of whether the settlement statement and assignment of proceeds are false
and fraudulent is an issue of fact for the jury. Therefore, defendants’ motion in limine as
to this issue (Doc. No. 146) will be DENIED.


       IT IS SO ORDERED.
Date: 6/1/07                                       S/ FERNANDO J. GAITAN, JR.
Kansas City, Missouri                              Fernando J. Gaitan, Jr.
                                                   Chief United States District Judge


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